            Case 1:03-cv-00785-MBH                                                         Document 235-14                             Filed 12/01/17                                 Page 1 of 4

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                           TAE GRA1V'TOR                         W,E. MCGIASHH,PT' AND' PATRIC'TA A. MCGYASHAN, husbari                                                                                                     1
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                                                                                  AND.~~i,AI~JAB~.E,.,GONSIDERATION
                    for and in consideration of TEN DOI.LAR9 .ANA OTHE~:='000D
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                    the following describe d reel   estate, situated
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                          LOT 10, FI~VQtLY SHQRBS, ACCORDING T4 :THE ~'Pf.E1T.
                                             4'k~.,  RECORD    S OF   KING    Ct?LTNTSIC ., t7ASHI ~G~dN ;; TOG$~EIBR;. WExH SECOi~iFf CLASS
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                    ~ PATRICIA A. MCGIASh1AN                                                            ..
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    Case 1:03-cv-00785-MBH                           Document 235-14                              Filed 12/01/17                           Page 2 of 4
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                                                 NAME                          C~'rid W Coalni

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                             ~ .AiMf M M bcvrA                         _                     DEED

                                                THE GRANTOR           Gordon S. Barrett, Jr. and Margaret E.
                                                                                                                                         Barrett, Husband
                                                                                                                                       and Wife, now and
                                               at all Limes since February 23, 1987
                                               fa and in consideration of        Ten Dollars and no/100—         —(~ 10.00) and Other Good and
                                                                                 Valuable Consideration
                                               M hand paid, conveys andwartants to          Davfd M. Collins and Vanessa F. Collins, Husband
                                                                                                                                              and Wi£e
                                               the following described real estate, situated in the County of   Ring
                                   ~           Washirgmn:                                                                                     ,SWte of

                                   r                                                                                                                            ~~~.~~y~~i
                                                    As per legal description hereto attached
                                   ~                                                                                                          'w~i~f~^'~
                                                                                                                                       8Y .


                                              This deed is gi~e~ in fulfillment of that artai~ real
                                                                                                    estate conuaa between the parties hereto, dated     April SLh
                                              i9 93.,tired conditioned for the Conveyance of
                                                                                                    the above dexribed property, and the covenants of warranry herein
                                             tained shall npt apply to any title, interest or encumbran                                                                   con-
                                                                                                           ce arising by, through or under the purchaser in said eonirott,
                                             sfiaU net appty to any Uxes, aaessmenu a                                                                                      and
                                                                                              otfier charges levied, assessed a 6ecomi~g due wbsequent to the date
                                             cortuact.                                                                                                                 of said

                                            Real Estate Excise Tax was paid on this sale or stamped exempt on                    April 27, 1993
                                                                                                                                                                            flat. No.
                                                                  y—p
                           ~                Oated             c                                  ,19                                                                      E1304415
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                                         ~Gordon S. Sa rei~{d~i` uail
                           -~ ~           ~l ~cw ~~ .~Ju-ul Z~"
                            ~                                                                                          By
                                          Marg et E. Bar2~R~~~~~1                                                                                 (President)
                           ~ ~                                                               _                         gY
                                                                                                                                                  (Secretary)
                           v~
                            ~r             STATE OF WASHING70N                                                         5TATE OF WASHINGTON
                           ~ ~jo couNrr of !"» a bo ~                                                        n'        couhrr o~                                      _           ~'
                            ti+ ~          On this day personally appe d before e                                     On this
                           ~9~                    ~~o rdo n S.                                                                                         day o~                ,
                                                                             ~f}~ Q„ty(_                              ]9.,before me,the undersigned, a Notary Public in and
                            i°                         CtAl~dh.Ct
                           ~~                                                                    —                    for the State of Washington, duly commiuioned aid sworn,
                                          to me known to be the individual described in and who                       personalty appeared                     -
                                          exetuied the withi and foregoing instrument, artd acknowl-
                                          edged that ~~                                                               and
                                          signed the same as                                                                                                                        ,
                                                                                                                      tome known to be the                                 President
                                          tree and voluntary act and deed, for the uses and purposes                  and                                 Secretary, respectively, of

                                                                                                                      the corporation that executed the foregoing imtrument, and
                                                                                                                      acknowledged the said instrument to be the free and volarr
                                                                                                                      wry act and deed of uid corporation, for the uses and pur-
                                                                                                                      posestherein m¢ntioned, and on oath ztated that
                                                                                                                                                  authorized m execute the said
                                                                                                                      instrument and that the seal affixed .s the corporate seal 01
                                                                                                              i       said carporatioa.

                                                                                                                      Witness my hand and official seal hereto affixed the day
                                                                                                                                                                                 and
                                                                                                                      year first above written,

           i'tllJl pq~~;                                                                                              Notary Vubiic in arxi for the Swte of Washirn,~ton,
                                                                                                                                                                            raiding
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                                                                                                                                            Exhibit 14 at 2
Case 1:03-cv-00785-MBH       Document 235-14             Filed 12/01/17      Page 3 of 4


                                  Z
                          That portion of Government Lot 2, Section 20, Township 25 North,
                          Range 6 East, W.M., iri:~Cing County,~Washington, described as follows:

                          Commencing at the intersection of the boundary line between Barrett
                          Estate and the early parcels as described in the Boundary Line
                          Agreement recorded under Recording Number 8302140262 with the
                          westerly line of the t~pct in which Burlington Northern Railway Co.,
                          lnn,~ ~~ wttegwrf~oC Y.o the 9e~ttfw FwkeRhose wnd EA9tRL❑ Railroad,
                          has acquired an interebt by deed recorded under Recording iJumbar
                          13877; ~              °'
                         thence northwesterly a~ong said westerly line of railroad tract a
                         distance of 40.00 feet. to the TRUE POINT OF BEGINNING;
                         thence continuing Wort erly along said westerly line a distance of
                         45.00 feet;            ~~'    '
                         thence southwesterly afi right angles to westerly margin of railroad
                         to the westerly boundary of the shorelands of the second class
                         previously owxied by thg State of Was]iingLOn and acqulred by deed
                         dated December 3, 1928'and recorded in Volume 16, page 286 of the
                  O      State of Washington's record of Tideland Deeds;
                         thence southerly along:;said westerly boundary of shorelands to the
                  C')    intersection with a life which bears south 55°02'12" west parallel
                  9~     to the boundary line between Barrett Estate and Early property as
                         described in the Bounds=y Line Agreement recorded under Recording
                         Number 8302140262;    {yi:
                         thence easterly along laid line to true point of beginning;
                                                    1.
                         An undivided 1/28th interest in community beach, described as
                         follows:

                          The uplands and shorela~ds of the Second Class in front of and
                          adjacent to, or abuttiri~ upon that portion of Government Lot 2,
                          Section 20, Township 25North, Range 6 East of the W.M., in King
                          County, Washington, described as follows:
                                                    ~f
                          Commencing at the sout~j. quarter corner of said Section 20, which
                          corner is marked by a poncrete monument, from which corner King
                          County Aerial Survey Mghument J-285 bears south 86°12'40" west a
                          distance of 591.42 fee~~ and from which corner the north-south
                          center line of said Se~~ion 20 bears north O°06'54" east;
                          thence north 32°16'31"}+rest a distance of 25Q5.04 feet to the
                          southeast corner of Short Plat No. R-1277118, as recorded under
                          Recording Number 79011Qp957, records of King County, Washington, as
                          said Short Plat was su~geyed and staked, and shown on .that survey
                          recorded fn Volume 16 f Surveys, page 258, records of said county,
                          and which point bears ~auth 0°16'35" east a distance of 569.64
                                                                                              feet
                         from the northeast cor~yer of said Short Plat;
                                                   _~
                         thence south 89°40'10";west, para12e1 with the north line
                                                                                       of said _
                         Short Plat, a distance~.pf 221.58 feet;
                         thence south 49°U9'S1^'.},test, at right angles to L-he center liiic
                         (radially to the curve of the Burlington Northern Railway (Formerly
                         the Northern Pacific R~}lway),'•a distance o£ 3.66 feet
                                                                                    to a point oA
                         the curve of the nort}i'easterly margin of the right-of-
                                                                                   way of said
                         railway, at which poi- t' the tangent to said curve bears south
                         40°50'09" east;        ~''~
                                                 >7,.
                         thence in a southeaste7~ly diriection along said curve to the
                                                                                         right,
                         having a radius of 2,3¢2.01 feet, an arc distance of 240.04
                                                                                        -feet;
                         thence south 55°Q2'12'!~r~est, at right angles to said right
                                                                                       -of-way
                        (radially to the curve~,'a distance of 100.00 feet to
                                                                                   a point on the
                        curve of the southwesterly margin of said right-af-way,
                                                                                     and which
                        point is referred to hereinafter as Point "D";
                        thence continuing sout~: 55°02'12" west to a point
                                                                              on the line of
                        navigability of Lake Satnmamish, and which point
                                                                           is the TRUE POINT OF
                        SECIITidINC of this desc},iption;
                        thence north 55°02'12":r east to said Foint "D";
                        thence in a northwestet-3y direction along the
                                                                         curve of the
                        southwesterly margin of the right-of-way of
                                                                       said railway to t17e
                        left, having a radius of 2,242.01 feet an
                                                                     arc distance of 40.00 feet;
                        thence south 55°02'12"west to a point on said
                                                                          line of navigability;
                        thence in a southwesterly direction, along
                                                                      said line of navigability
                        to the TRUE POINT OF B~GINNINC, bearings in the
                                                                           above description
                        are oriented to said recorded survey;
                                               v7
                                               /.
                        TOGETHER WITH easement for ingress and egress
                                                                      as described in
                        instrument recorded uric~er ReCOrdlnq Number
                                                                     8805040489.
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                                                                              Exhibit 14 at 3
     Case 1:03-cv-00785-MBH                                      Document 235-14                                    Filed 12/01/17                            Page 4 of 4

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